
670 S.E.2d 68 (2008)
In the Matter of Louis Dante DiTRAPANO.
No. S09Y0114.
Supreme Court of Georgia.
November 3, 2008.
William P. Smith III, General Counsel State Bar, Jonathan W. Hewett, Assistant General Counsel State Bar, for State Bar of Georgia.
PER CURIAM.
This disciplinary matter is before the Court pursuant to the Report and Recommendation of the Review Panel of the State Disciplinary Board which recommends that Respondent Louis Dante DiTrapano be disbarred pursuant to Rule 9.4 of the Georgia Rules of Professional Conduct, see Bar Rule 4-102(d). This disciplinary action arises out of the order entered on May 10, 2007 by the West Virginia Supreme Court of Appeals annulling DiTrapano's license to practice law based on his guilty plea to the federal felony crime of knowing possession of firearms while being an unlawful user of and addicted to controlled substances.
Because DiTrapano acknowledged service of the Notice of Reciprocal Discipline but did not object in any way, this Court hereby accepts the recommendation of the Review Panel and orders that DiTrapano be disbarred. DiTrapano is reminded of his duties under Bar Rule 4-219(c).
Disbarred.
All the Justices concur.
